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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION
VLSI TECHNOLOGY LLC                         §
                                            §     CIVIL NO:
vs.                                         §     AU:19-CV-00977-ADA
                                            §
INTEL CORPORATION                           §

         ORDER RESETTING JURY SELECTION AND TRIAL
       IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
JURY SELECTION AND TRIAL in Courtroom 5, on the Sixth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Monday, January 11, 2021 at 09:00 AM.

       IT IS SO ORDERED this 28th day of October, 2020.




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                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE
